                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

                  Plaintiff,

v.                                                       Case No. 18-CR-130

BRET NAGGS, MARK WOGSLAND, and
PETER ARMBRUSTER,

                  Defendants.


            DEFENDANT MARK WOGSLAND’S RULE 23(a) MOTION
     REQUESTING WAIVER OF JURY TRIAL AND APPROVAL OF BENCH TRIAL

        Defendant Mark Wogsland, by his undersigned counsel, hereby moves for an order

granting a jury trial waiver and approving a bench trial pursuant to Federal Rule of Criminal

Procedure 23(a). In support of the motion, Mr. Wogsland adopts and incorporates the

memorandum of law submitted by co-defendant Peter Armbruster on September 10, 2020 (ECF

169). Mr. Wogsland seeks this relief in the alternative to, and without waiver of, his arguments set

forth in the pending Motion to Dismiss, which seeks case dispositive and other relief that may

inform or moot the relief sought by this Motion. (See ECF 87, 113, 139, and 155).

        Respectfully submitted this 10th day of September, 2020.




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                                              Respectfully submitted,

                                              MARK WOGSLAND

                                              By:    s/ Ryan S. Hedges
                                                    One of His Attorneys

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Dated: September 10, 2020




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                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing motion was served on all attorneys of record

in the above captioned case via the CM/ECF electronic filing system on September 10, 2020.


                                                           /s/ Ryan S. Hedges
                                                           Ryan S. Hedges




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